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      MERIDIAN SENIOR LIVING, LLC and
 9    KENNETH KIESWETTER
10
                                 UNITED STATES DISTRICT COURT
11

12                              CENTRAL DISTRICT OF CALIFORNIA
13
      BONNIE SUMMER, an individual,          CASE NO.: 2:21-cv-04051
14

15                          Plaintiff,       DEFENDANTS MERIDIAN SENIOR
             vs.                             LIVING, LLC and KENNETH
16                                           KIESWETTER’S RULE 7.1(a)
17    MERIDIAN SENIOR LIVING, LLC;           CORPORATE DISCLOSURE
      KENNETH KIESWETTER, as an              STATEMENT
18
      individual; and DOES 1 through 100,
19    inclusive),
                                             Complaint Filed: March 15, 2021
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                            Defendants.      Trial Date:      Not Set
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      CASE NO.: 2:21-cv-04051                 1        DEFENDANTS’ CORPORATE DISCLOSURE
                                                                             STATEMENT
     Case 2:21-cv-04051-FMO-AFM Document 6 Filed 05/14/21 Page 2 of 2 Page ID #:122


 1           TO THE HONORABLE CLERK OF THE UNITED STATES DISTRICT
 2    COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA:
 3           Defendants Meridian Senior Living, LLC and Kenneth Kieswetter (collectively
 4    “Defendants”), hereby make their disclosures pursuant to Federal Rule of Civil Procedure
 5    7.1(a).
 6           Defendant MERIDIAN SENIOR LIVING, LLC, a North Carolina Limited
 7    Liability Corporation, has no parent corporation and no publicly-traded corporation owns
 8    10% or more of its stock.
 9           In the event that, during the course of this litigation, Defendant discovers other
10    persons, associations of persons, firms, partnerships, corporations, affiliates, parent
11    corporations, it will file an amended disclosure.
12

13    Dated: May 14, 2021                     JACKSON LEWIS P.C.
14

15                                            /s/ John Andrew Schaffer
16                                            Leonora M. Schloss
                                              John Andrew Schaffer
17

18                                            Attorneys for Defendant
                                              MERIDIAN SENIOR LIVING, LLC and
19                                            KENNETH KIESWETTER
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             4811-7086-5640, v. 1
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      CASE NO.: 2:21-cv-04051                     2        DEFENDANTS’ CORPORATE DISCLOSURE
                                                                                 STATEMENT
